Case 1:05-cv-01119-.]DT-STA Document 9 Filed 06/06/05 Page 1 of 4 Page|D 1

F”~ED ny
IN THE UNITED STATES DISTRICT COURT ]BSJU” \`--D.C.

FOR THE WESTERN DISTRICT OF TENNESSE `5 AH 9.» 38
EASTERN DIvlSION C gm 9 w f
IEHK, " F?ouo
OFUf;§,' Dls CRF

BETTY ELAINE KREIDER and husband,
EDWARD P. KREIDER,

Plaintiffs,
VS. No. 05-1119~T/An

MERCK & CO., INC., ET AL.,

Defendants.

 

ORDER GRANTING MOTION TO STAY

 

Plaintiffs Betty Elaine Kreider and Edward P. Kreider filed this action in the Circuit
Court of Crockett County, Tennessee, on March 24, 2005, against Merck and Company,
lnc., maker of the prescription drug known as Vioxx. Plaintiffs also named as defendants
certain local Merck sales representatives and pharmacists Merck removed the action to this
Court on April 25, 2005, on the basis of diversity of citizenship, contending that the non-
diverse defendants were fraudulently joined in an attempt to defeat diversity jurisdiction

Also on April 25 , 2005, Merck filed a motion to stay all further proceedings pending
a decision by the Judicial Panel on Multidistrict Litigation (“MDL Panel”) on Whether this

case should be transferred to the United States District Court for the Eastern District of

This document entered on the docket sheet in compliance

with ama 58 and/or 79 (a) FncP on Q LQ f {llo ' §§

Case 1:05-cv-01119-.]DT-STA Document 9 Filed 06/06/05 Page 2 of 4 Page|D 2

Louisiana as a “tag-along” action in MDL Proceeding No. 1657, In re Vioxx Product
Liabiligg Litigation. Plaintiffs filed a motion to remand the action to state court on May 25,
2005.

The MDL Panel issued the first Transfer Order establishing MDL-1657 on February
16, 2005. In that order, the Panel stated:

The pendency of a motion to remand to state court is not a sufficient

basis to avoid inclusion in Section 1407 proceedings We note that motions

to remand in two actions, one action each in the District of Kansas and the

Eastern District of Missouri, as well as in any other MDL-1657 actions can be

presented to and decided by the transferee judge. See, e.g., In re Ivy, 901 F.Zd

7 (Zd Cir. 1990); fn re Prudential Insurance Company of America Sales

Prac!ices Litigatz'on, 170 F. Supp. 2d 1346, 1347-48 (J.P.M.L. 2001).
Transfer Order, at 2 (J.P.M.L. Feb. 16, 2005).

The pendency of transfer to the MDL proceeding does not limit the authority of this
Court to rule on the plaintiff’ s motion to remand. §e_e_ JPML R. 1.5. The decision Whether
to grant a stay is within the inherent power of the Court and is discretionary S_ee“ Landis v.
North Am. Co., 299 U.S. 248, 254-55 (1936). Although some courts have opted to rule on

pending motions to remand prior to the MDL Panel’s decision on transfer, see, e.g., Kantner

v. Merck & Co. Inc., No. l:O4CV2044-JDT-TAB, 2005 WL 277688 (S.D. lnd. Jan. 26,

 

2005), there are many more that have chosen to grant a stay, even if a motion to remand has

been filed. Lg, Anderson v. Merck & Co. Inc., No. 4:05-cv-89 (E.D. Mo. Mar. 16, 2005);

 

McCrerey v. Merck & Co., Inc., No. 04-cv-2576 (S.D. Cal. Mar. 2, 2005); Dixon v. Merck

& C0. Inc., No. 05-0121 (S.D. Tex. Feb. 23, 2005).

 

Case 1:05-cv-Olll9-.]DT-STA Document 9 Filed 06/06/05 Page 3 of 4 Page|D 3

There are several other Vioxx cases already pending in this district, and hundreds
more in other districts In many of those cases, the joinder of non-diverse defendants is
contested and motions to remand have been or will be filed. Thus, the jurisdictional issues
raised in this case are similar to those raised in other cases that have been or will be
transferred to the MDL proceeding

The Court finds that having the jurisdictional issues decided in the MDL proceeding
Will best promote judicial economy and conserve judicial resources In addition, the Court
finds that any prejudice to the plaintiffs resulting from a stay would be minimal. However,
in the absence of a stay, the risk to Merck of duplicative motions and discovery is
significant

For the foregoing reasons Merck’s motion to stay pending the MDL Panel’s transfer
decision is GRANTED. The motion to remand is deferred to the transferee court.

IT IS SO ORDERED.

 

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 1:05-CV-01119 was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listedl

 

 

T. Robert Hill

H[LL BOREN

1269 N. Highland Ave.
Jackson, TN 38303--053

Charles C. Harrell

BUTLER SNOW O'MARA STEVENS & CANADA, PLLC
6075 Poplar Ave.

Ste. 500

l\/lemphis7 TN 38119

Joseph R. Alexander
Mithoff & lacks

One Allen Center Penthouse
500 Dallas

Houston, TX 77002

J ames L. Wright
Mithoff & Jacks, P.C.
11 1 Congress Avenue
Suite 1010

Austin7 TX 78701

Steven G. Ohrvall

H[LL BOREN- Jackson
1269 N. Highland Ave.
P.O. Box 3539

Jackson, TN 38303--353

Lisa M. Martin

BUTLER SNOW O'MARA STEVENS & CANADA, PLLC
6075 Poplar Ave.

Ste. 500

l\/lemphis7 TN 38119

Honorable J ames Todd
US DISTRICT COURT

